                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

GARY KOOPMANN, TIMOTHY KIDD and          :     Civ. Action No: 15-cv-07199-JMF
                                         :
VICTOR PIRNIK, Individually and on Behalf of
All Others Similarly Situated,           :
                                         :     CLASS ACTION
                           Plaintiff(s), :
                                         :
                                         :
                 v.                      :
                                         :
                                         :
FIAT CHRYSLER AUTOMOBILES N.V.,          :
FCA US, LLC, RONALD ISELI AND            :
ALESSANDRO BALDI, AS CO-EXUCUTORS :
FOR THE ESTAT OF SERGIO                  :
MARCHIONNE, RICHARD K. PALMER,           :
SCOTT KUNSELMAN, MICHAEL DAHL,           :
STEVE MAZURE, and ROBERT E. LEE,         :
                                         :
                           Defendants.   :
                                         :

           CLASS REPRESENTATIVES’ MEMORANDUM OF LAW
               IN SUPPORT OF UNOPPOSED MOTION FOR
        PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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    I.   PRELIMINARY STATEMENT

         Pursuant to Fed. R. Civ. P. Rule 23(e), Class Representatives Gary Koopmann, Timothy

Kidd and Victor Pirnik (collectively, “Plaintiffs”) submit this memorandum of law in support of

their unopposed motion for preliminary approval of a settlement of this securities fraud class

action filed on behalf of all Persons who purchased or otherwise acquired, on a U.S. Exchange or

in a transaction in the U.S., Fiat Chrysler Automobiles N.V. (“FCA”) common stock between

October 13, 2014 and May 23, 2017, both dates inclusive (the “Class Period”). While Defendants

do not oppose the relief sought herein, the analysis and characterizations of the litigation and

Settlement are provided only on behalf of Class Counsel and Plaintiffs, and do not necessarily

reflect the views of Defendants.

         Pursuant to the Stipulation of Settlement dated April 5, 2019 (“Stipulation”), filed

contemporaneously herewith, Defendants Fiat Chrysler Automobiles N.V. (“FCA”), FCA US,

LLC (“FCA US”), Ronald Iseli and Alessandro Baldi, as co-executors for the estate of Sergio

Marchionne (“Marchionne” and the “Estate of Marchionne”), Scott Kunselman (“Kunselman”),

Michael Dahl, (“Dahl”), Steve Mazure (“Mazure”) and Robert E. Lee (“Lee”) (collectively, the

“Defendants”, and with Plaintiffs, the “Parties”), have agreed to settle the Action for a payment

by FCA of $110,000,000, as described more fully in the Stipulation, in return for a release of all

claims (the “Settlement”).1 The Stipulation is the result of extensive arms’ length negotiations

between highly experienced counsel, which included two full day mediation sessions in

September 2018 and January 2019 before the Hon. Daniel Weinstein (ret.) and periodic

subsequent correspondence between the Parties and Judge Weinstein.



1
 All capitalized terms that are not defined specifically in this memorandum have the same
meanings as set forth in the Stipulation.


                                                1
       Plaintiffs respectfully submit that the proposed Settlement is fair, reasonable, and

adequate, and therefore asks the Court to enter the accompanying [Proposed] Order Preliminarily

Approving Settlement and Providing for Notice (the “Notice Order”) attached to the Stipulation

as Exhibit A. The Notice Order will: (1) preliminarily approve the Settlement as set forth in the

Stipulation; (2) approve the form and method for providing notice of the Settlement to the Class;

and (3) schedule a final approval hearing in which the Court will consider the request for final

approval of: (a) the Settlement set forth in the Stipulation; (b) the Plan of Allocation of

Settlement proceeds among Class Members; (c) Class Counsel’s application for an award of

attorneys’ fees and expenses; and (d) Plaintiffs’ application for a compensatory award.

       Plaintiffs estimate that the proposed Settlement provides the Class with approximately

13.75% of maximum recoverable damages2—an objectively excellent result when compared to

historical statistics in class action settlements, where typical recoveries are between 1.6% and

3.3%. See, e.g., Cornerstone Research, Securities Class Action Settlements: 2018 Review and

Analysis at 6,    (2018), , https://www.cornerstone.com/Publications/Reports/Securities-Class-

Action-Settlements-2018-Review-and-Analysis (noting that in 2018 the median settlement as a

percentage of “simplified tiered damages” between $500 million and $999 million was 3.3%);

NERA Economic Consulting, Recent Trends in Securities Class Action Litigation: 2018 Full

Year                           Review,                            at                          35

https://www.nera.com/content/dam/nera/publications/2019/PUB_Year_End_Trends_012819_Fin

al.pdf. (noting that in 2018 the median of settlement value as a percentage of “NERA-Defined

Investor Losses by Level of Investor Losses” between $600 million and $999 million was 1.6%).

Thus, according to the Cornerstone measure the Settlement provides the Class with over four

2
  This estimate is based on a calculation of damages performed by Plaintiffs’ damages
consultant.


                                                2
times the median percentage of recovery and according to the NERA measure, the Settlement

provides the Class with 8.6 times the median percentage of recovery.          Accordingly, , the

Settlement easily falls “within the range of possible approval” and warrants preliminary

approval. Moreover, given the likelihood that less than 100% of Class Members will file claims,

the actual percentage of recovery is even higher. So long as the Settlement appears to be prima

facie reasonable, Plaintiffs request that the Court preliminarily approve the Settlement so that

notice of the proposed settlement may be disseminated to the Class.

II.    SUMMARY OF THE LITIGATION AND SETTLEMENT

       A.      Procedural History of The Litigation

       This Action was first filed on September 11, 2015 in the Southern District of New York.

(ECF No. 1). By order dated December 9, 2015, the Court appointed Gary Koopmann and

Timothy Kidd as lead plaintiffs and Pomerantz LLP and The Rosen Law Firm, P.A. as lead

counsel. (ECF No. 24). The First Amended Complaint for Violations of the Federal Securities

Laws (“Amended Complaint”) was filed on January 22, 2016, alleging on behalf of FCA

investors between October 13, 2014 and October 28, 2015 (the “Initial Class Period”) violations

of §10(b) and § 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”) against FCA,

Marchionne, Richard Palmer (“Palmer”) and Kunselman. (ECF No. 28).

       On March 7, 2016, the defendants named in the Amended Complaint filed a motion to

dismiss that complaint. (ECF Nos. 31-33). On March 29, 2016, Plaintiffs filed the Second

Amended Complaint for Violations of the Federal Securities Laws (“SAC”), addressing

deficiencies that defendants alleged in their motion to dismiss (per the Court’s invitation in its

Order of March 8, 2016). (ECF No. 38).

       The SAC alleges that, during the Initial Class Period, the defendants misled investors by

asserting that FCA was in compliance with vehicle safety regulations promulgated by the Safety


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Act and the National Highway Traffic Safety Administration (“NHTSA”) but failed to disclose

that FCA had widespread violations of various provisions of the Safety Act involving FCA’s

failure to timely conduct recalls, notify customers and remedy safety defects that NTHSA had

warned the Company about. The SAC also alleges that FCA underreported its reserves for the

cost of recalls, which resulted directly from FCA’s failure to timely conduct recalls, notify

customers and remedy the safety defects. The SAC alleges that investors began to learn the truth

on July 26, 2015 when FCA entered into a Consent Order with NHTSA for violations of the

Safety Act in connection with 23 recalls (affecting more than 11 million vehicles) that required

FCA to pay $105 million, conduct certain recalls, remedy certain defects and change its internal

practices and procedures. On this news, FCA’s stock price fell approximately 4.9% on July 27,

2015. Then on October 28, 2015, FCA announced that it would record a €761 million charge for

estimated future recall campaign costs for vehicles sold in prior periods in NAFTA. As a result,

FCA shares fell approximately 4.7% on October 28, 2015.

       On April 28, 2016, the defendants moved to dismiss that complaint and the motion was

fully briefed. (ECF Nos. 42-44). On October 5, 2016, this Court granted in part and denied in

part Defendants’ motion to dismiss. (ECF No. 50). The Court denied the motion to dismiss as to

alleged misstatements concerning FCA’s compliance with vehicle safety regulations, and

dismissed all claims against Palmer. The Court granted Defendants’ motion as to alleged

misstatements concerning FCA’s reserves for cost of recalls deeming them inactionable

opinions.

        On February 22, 2017, having received permission from the Court to do so, Plaintiffs

filed the Third Amended Complaint for Violations of the Federal Securities Laws (“TAC”),

adding allegations concerning FCA’s compliance with emissions regulations. (ECF No. 69).




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Specifically, the TAC alleges that Defendants also misled investors as to FCA’s compliance with

regulations concerning nitrogen oxide (“NOx”) emissions in the Company’s diesel vehicles sold

in the US and the EU by not disclosing that the Company’s diesel vehicles utilized undisclosed

“AECDs” and “defeat devices” that caused the Company’s vehicles to perform differently during

regulatory tests than in real-world on-road performance. The TAC alleges that investors learned

the truth through a series of disclosures on May 23, 2016, January 12, 2017, February 6 and 7,

2017 and May 23, 2017 when U.S. and European authorities accused FCA of violating emissions

regulations. The TAC alleges that each of the corrective disclosures caused FCA’s stock price to

decline significantly. The TAC extended the Initial Class period to October 13, 2014 to May 23,

2017 (the “Class Period”).

       On March 22, 2017, the defendants named in the TAC filed a motion to dismiss the

emissions-related allegations in the TAC, which was thereafter fully briefed. (ECF Nos. 91-93).

On August 1, 2017, the Court granted the defendants’ motion to dismiss the emissions-related

allegations in the TAC, holding that the TAC failed to adequately allege a strong inference of

scienter, but the Court granted Plaintiffs permission to amend the TAC. (ECF No. 121).

       On August 24, 2017, Plaintiffs filed the Fourth Amended Complaint for Violations of the

Federal Securities Laws (“FAC”), adding allegations concerning FCA’s compliance with

emissions regulations and Defendants’ scienter, and adding defendants (in addition to FCA,

Marchionne, and Kunselman) FCA US, Dahl, Mazure and Lee. (ECF No. 129).

       On September 5, 2017, Defendants filed a motion to dismiss the emissions-related

allegations in the FAC, asserting that the FAC still failed to allege a strong inference of scienter.

(ECF No. 131-133). The motion was thereafter fully briefed. On November 13, 2017, the Court

denied Defendants’ motion to dismiss the emissions-related allegations in the FAC in its entirety,




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holding that the FAC adequately alleged scienter. (ECF No. 142).

       On December 21, 2017, Plaintiffs filed their motion for class certification, which was

thereafter fully briefed. (ECF No. 148-149, 151).         In connection with class certification,

Plaintiffs submitted an expert report concerning market efficiency, Defendants submitted an

expert report in opposition to class certification, and the parties deposed the other party’s expert.

Defendants also took the depositions of each of the three proposed class representatives. On June

26, 2018, the Court granted Plaintiffs’ motion for class certification, certifying a class consisting

of all persons who purchased, on a U.S. Exchange or in a transaction in the United States, FCA

common stock between October 13, 2014 and May 23, 2017, both dates inclusive, appointing

Gary Koopmann, Timothy Kidd and Victor Pirnik as class representatives, and appointing

Pomerantz LLP and The Rosen Law Firm, P.A. as Class Counsel. (ECF No. 223).

       The parties completed fact discovery in August 2018 and expert discovery in November

2018. During the course of fact discovery Plaintiffs propounded two sets of Requests for

Production of Documents, three sets of written Interrogatories and one set of written Requests

for Admission on Defendants. Plaintiffs also served third party subpoenas on Robert Bosch,

LLC and former NHTSA employee Robert Garris. Plaintiffs filed a petition to enforce the

subpoena on Robert Bosch, LLC in the Eastern District of Michigan, which was then transferred

to this Court on May 3, 2018 (2:18-CV-11101-VAR-RSW, ECF No. 11). In connection with the

subpoena to Robert Garris, Plaintiffs filed a related action against the United States Department

of Transportation (“USDOT”) challenging the USDOT’s denial of Plaintiffs’ request to take Mr.

Garris’ deposition. Koopmann v. United States Department of Transporation, 18-CV-3460

(JMF). After the Court held that that the USDOT’s denial of Plaintiffs’ request was “arbitrary

and capricious” it ordered Plaintiffs and the USDOT to submit letter briefs addressing the




                                                 6
subpoena pursuant to Fed. R. Civ. P. 45, which the parties did. (18-CV-3460, ECF Nos. 30, 31).

On August 24, 2018 the Court denied the DOT’s motion to quash the subpoena to Garris, after

which Plaintiffs deposed Mr. Garris. (ECF No. 244).

        Plaintiffs also filed (and Defendant opposed) numerous discovery-related letter motions.

These included: a letter motion to compel Defendants to produce documents concerning all

recalls and investigative files (ECF Nos. 73, 77); a letter motion to compel Defendants to

produce a more specific privilege log (ECF         Nos. 152, 154); a letter motion to compel

Defendants to produce documents related to compliance with emissions regulations outside of

the U.S. (ECF Nos. 181, 183); a letter motion seeking leave to take 40 depositions and propound

additional interrogatories (ECF Nos. 190, 194);       and a letter motion requesting spoliation

sanctions (ECF No. 305).

        Additionally, Plaintiffs filed (and Defendants opposed) a motion to quash subpoenas for

documents and testimony related to the confidential witnesses named in Plaintiffs’ Complaint

(ECF Nos. 221, 228) and a motion for spoliation sanctions (ECF           Nos. 310, 325, 348).

Defendants also filed (and Plaintiffs opposed) a letter motion pursuant to Fed. R. Evid. 612 to

compel disclosure of Plaintiffs’ investigator’s interview notes and memorandum. (ECF Nos. 247,

249).

        On December 12, 2018 Defendants filed a motion for summary judgment and two

Daubert motions (ECF Nos. 273-287; 301-303), and Plaintiffs filed four Daubert motions. (ECF

Nos. 289-300). On January 4, 2019, Plaintiffs filed a motion for sanctions based on allegations

of spoliation, which was thereafter fully briefed. (ECF Nos. 310-312). In connection with

summary judgment, Defendants filed two motions in limine to exclude the testimony and




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opinions of Plaintiffs’ experts (ECF Nos. 273, 276) and Plaintiffs filed four motions in limine to

exclude the testimony and opinions of Defendants’ experts. (ECF Nos. 289, 292, 295, 298).

       By the time the parties concluded fact and expert discovery Defendants and third parties

produced over 3,500,000 pages of documents; the Parties collectively took 36 depositions, many

of which took place in Detroit, Michigan, and the Parties exchanged reports from 11 expert

witnesses.

       On September 26, 2018, Class Counsel and Defendants’ Counsel participated in a full-

day mediation session before the Honorable Daniel Weinstein (Ret.) of JAMS. In advance of

that session, the Parties exchanged detailed mediation statements with numerous exhibits,

addressing liability and damages, which were submitted to Judge Weinstein. That mediation

session ended without any agreement being reached.

       On January 8, 2019, Class Counsel and Defendants’ Counsel participated in a second

full-day mediation session before Judge Weinstein. In advance of that session, the Parties

exchanged and submitted to Judge Weinstein supplemental mediation statements with numerous

exhibits, addressing additional factors impacting liability and damages. That mediation session

ended without any agreement being reached.

       Following additional conversations between Judge Weinstein and the Parties, Judge

Weinstein issued a Mediator’s proposal that the Action settle for $110 million in cash, which was

accepted by each Party on February 4, 2019. Subsequently, the Parties continued negotiations

resulting in the terms and conditions set forth in the Stipulation.




                                                  8
       B.      Summary Of Key Terms Of The Proposed Settlement

               1.      Relief to Class Members and Release of Claims

       Defendants have agreed to settle the Action for $110 million as described more fully in

the Stipulation, in return for which all claims that have been, or could have been asserted in the

Complaint against “Defendants’ Releasees” will be dismissed, barred and released.

       The monies will be deposited in an escrow account maintained by Huntington National

Bank and will be held in instruments or accounts backed by the full faith and credit of the United

States Treasury.

       If the Settlement is approved, none of the monies will revert to FCA or its insurance

carriers. If the Settlement is not approved, or otherwise does not become effective, the monies

other than costs of notice will revert.

               2.      Class Notice and Settlement Administration

                       a)         Notice

       Within 20 calendar days of Preliminary Approval (the “Notice Date”), a proposed Notice

and Proof of Claim substantially in the form set forth in Exhibits A-1 and A-2 to the Stipulation

will be mailed to each Class Member identified by records maintained by FCA’s transfer agent,

as well as institutional investors, and a list of banks and brokerage firms that usually maintain

custodial accounts. A Summary Notice will also be published through the Internet within 10

calendar days of the Notice Date, since that medium is most frequently accessed by investors,

and is the most cost-effective.

       The Notice describes in plain English the terms of the Settlement, the considerations that

led Class Counsel and Plaintiffs to conclude that the Settlement is fair and adequate, the Plan of

Allocation, the maximum attorneys’ fees award and expense reimbursement that may be sought,




                                                9
and the proposed compensatory awards. A copy of the Notice, Claims Form and Stipulation of

Settlement will also be posted on a website maintained by the Settlement Administrator.

       The Notice will also set forth the date of the Settlement Fairness Hearing, as well as

procedures for objecting to the foregoing matters or opting out of the Settlement. It is

respectfully requested that the Settlement Fairness Hearing be scheduled 120 calendar days after

the Notice Date. This will allow mailing to be completed; Class Members to have ample time to

consider their options and, if they choose, to file objections or opt out of the Class; the filing of

Notice to Attorneys General under the Class Action Fairness Act, 28 U.S.C. § 1775; as well as

time for the Parties to respond to any objections.

       The Notice also identifies the date by which claims must be filed, which Class Counsel

requests be postmarked 120 calendar days after the Notice Date.

                       b)      Administration

       After provision of a competitive bid, Class Counsel selected Epiq Class Action & Mass

Tort Solutions. Inc. (“Epiq”) to administer the notice and process the claims for the Settlement.

Epiq is well known and highly experienced in the administration of securities fraud class action

settlements.

               3.      Papers in Support of the Settlement, Award of Class Counsel Fees and
                       Expenses, and Compensatory Awards to Plaintiffs

       No later than 35 calendar days prior to the Settlement Fairness Hearing, Class Counsel

will submit papers in support of the Settlement and Plan of Allocation, as well as the request for

the awards of attorney fees, expenses, and compensatory award to Plaintiffs. Those papers will

detail reasons why the Settlement should be approved, as well as Class Counsel’s efforts

undertaken on behalf of the Class (including a breakdown of the time and hourly rates of each

attorney who contributed to the outcome).



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        No less than 7 calendar days prior to the Settlement Fairness Hearing, Class Counsel may

submit reply papers in support of the motion for final approval of Settlement, Plan of Allocation,

request for an award of attorneys’ fees and expenses or request for compensatory awards to

Plaintiffs.

               4.      Objections

        Any Class Member who objects to the Settlement or related matters must do so 21

calendar days prior to the Settlement Fairness Hearing, and must send copies of such objections

to the Court as well as designated counsel for the Class and Defendants. Any Class Member who

does not file a timely written objection to the Stipulation shall be foreclosed from seeking any

adjudication or review of the Stipulation by appeal or otherwise.

        To ensure the legitimacy of any such objections, the Class Member must file documents

evidencing FCA transactions, as well as submit to the jurisdiction of this Court for possible

deposition. These measures are intended to thwart “professional objectors” who have appeared

from time to time in these actions.

               5.      Opt Outs

        Any Class Member who wishes to be excluded must do so by written request

accompanied by FCA transaction documentation, postmarked no later than 21 calendar days

prior to the Settlement Fairness Hearing. The opt out must be sent to Class Counsel, Defendants’

Counsel, and the Settlement Administrator (but not the Court).

               6.      Termination of the Settlement

        Defendants have the right to withdraw from the Settlement if Class Members owning a

previously negotiated amount of FCA Securities elect to opt out of the Class. The threshold

amount is set forth in a separate agreement that will not be filed with the Court unless

Defendants choose to exercise their right of withdrawal.


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            In the event that the Settlement is not approved by the Court, does not become final due

to any appeals or Defendants’ withdrawal from the Settlement, the parties will return to their

respective positions prior to the Settlement and the litigation will proceed apace.

                   7.      No Admission of Liability

            By entering into the Stipulation, the Defendants do not admit liability and continue to

deny that they engaged in any misconduct or violated the law.

III.        THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY APPROVAL

       A.      The Courts Favor Settlements Of Complex Class Actions

            The law favors settlement, particularly in class actions and other complex cases. Newberg

on Class Actions (Fourth) (2002) § 11.41 (“The compromise of complex litigation is encouraged

by the courts and favored by public policy.”). Due to the presumption in favor of settlement, and

“[a]bsent fraud or collusion,” courts “should be hesitant to substitute [their] judgment for that of

the parties who negotiated the settlement.” In re EVCI Career Colleges Holding Corp. Sec.

Litig., 05 CIV 10240 CM, 2007 WL 2230177, at *4 (S.D.N.Y. July 27, 2007). The Supreme

Court has cautioned that in reviewing a proposed class settlement, courts should “not decide the

merits of the case or resolve unsettled legal questions.” Carson v. Am. Brands, Inc., 450 U.S. 79,

88 n. 14 (1981). Where, as here, the parties propose to resolve class action litigation through a

class-wide settlement, they must request and obtain the Court’s approval. See Fed. R. Civ. P.

23(e). As the Second Circuit has held:

            A court may approve a class action settlement if it is fair, adequate, and
            reasonable, and not a product of collusion. A court determines a settlement’s
            fairness by looking at both the settlement’s terms and the negotiating process
            leading to settlement. A presumption of fairness, adequacy, and reasonableness
            may attach to a class settlement reached in arm’s-length negotiations between
            experienced, capable counsel after meaningful discovery. We are mindful of the
            strong judicial policy in favor of settlements, particularly in the class action



                                                    12
       context. The compromise of complex litigation is encouraged by the courts and
       favored by public policy.

Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96, 116-17 (2d Cir. 2005) (citations and

internal quotation marks omitted). In evaluating a proposed class-action settlement, “courts

should give proper deference to the private consensual decision of the parties” and should bear in

mind “the unique ability of class and defense counsel to assess the potential risks and rewards of

litigation.” Fleisher v. Phoenix Life Ins. Co., Nos. 11-cv-8405, 14-cv-8714, 2015 U.S. Dist.

LEXIS 121574, *17 (S.D.N.Y. Sept. 9, 2015) (citations omitted). Moreover, the Supreme Court

has cautioned that courts should “not decide the merits of the case or resolve unsettled legal

questions.” Carson v. Am. Brands, Inc., 450 U.S. 79, 88 n.14 (1981). This is particularly

important in class actions and other complex cases where substantial resources can be conserved

by avoiding the time, cost, and rigor of prolonged litigation.

       The three-step process for approval of a class-action settlement is: (1) preliminary

approval; (2) dissemination of notice of the settlement to the class; and (3) a settlement approval

hearing where class members may be heard regarding the fairness, adequacy, and reasonableness

of the settlement. Manual for Complex Litigation (Fourth) §§ 21.632–.634 (2004). This

procedure serves the dual function of safeguarding class members’ procedural due process rights

and enabling the court to fulfill its role as the guardian of the class members’ interests. See

William Rubenstein, Alba Conte, & Herbert B. Newberg, Newberg on Class Actions § 11.25 (4th

ed. 2002). Plaintiffs respectfully request the Court to take the first step in the process and grant

preliminary approval to the Settlement.

       B.      The Proposed Settlement Merits Preliminary Approval

       Preliminary approval is merely the prerequisite for disseminating notice to class members

so they may decide whether to approve or reject the Settlement. Accordingly:



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       If the preliminary evaluation of the proposed settlement does not disclose grounds
       to doubt its fairness or other obvious deficiencies, such as unduly preferential
       treatment of class representatives or of segments of the class, or excessive
       compensation for attorneys, and appears to fall within the range of possible
       approval, the court should direct that notice under Rule 23(e) be given to the class
       members of a formal fairness hearing, at which arguments and evidence may be
       presented in support of and in opposition to the settlement.

Manual for Complex Litigation (Third) § 30.41 (1995).

           1.      The Proposed Settlement Recovery Is Substantively Fair

       In the Second Circuit, courts will examine the negotiating process leading to the

settlement. Wal-Mart, 396 F.3d 96 at 116. They will also determine whether the settlement’s

terms are fair, reasonable, and adequate, using the factors set forth in City of Detroit v. Grinnell

Corp., 495 F.2d 448 (2d Cir. 1974).

                   a)     The Settlement Was Negotiated By Well-Informed Counsel With
                          The Assistance Of A Mediator And Thus Warrants A
                          Presumption Of Fairness

       “In evaluating the settlement, the Court should keep in mind the unique ability of class

and defense counsel to assess the potential risks and rewards of litigation; a presumption of

fairness, adequacy and reasonableness may attach to a class settlement reached in arms-length

negotiations between experienced, capable counsel after meaningful discovery.” Clark v. Ecolab

Inc., Nos. 07 Civ. 8623, 04 Civ. 4488, 06 Civ. 5672, 2010 WL 1948198, at *4 (S.D.N.Y. May

11, 2010). Courts also give weight to the parties’ judgment that the settlement is fair and

reasonable. See Palacio v E*trade Fin. Corp., 2012 WL 2384419, at *2 (S.D.N.Y. June 22,

2012) (citing Torres v. Gristede’s Operating Corp., Nos. 04 Civ. 3316, 08 Civ. 8531, 08 Civ.

9627, 2010 WL 5507892, at *3 (S.D.N.Y. Dec. 21, 2010)); Diaz v. E. Locating Serv. Inc., No. 10

Civ. 4082, 2010 WL 5507912, at *3 (S.D.N.Y. Nov. 29, 2010); Clark, 2010 WL 1948198, at *4.




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        The Settlement was reached through arm’s-length negotiation, which included two all-

day mediation sessions before Judge Weinstein – a respected and experienced mediator – held in

September 2018 and January 2019. The parties failed to reach an agreement during these

sessions. Judge Weinstein continued to facilitate settlement discussions between the Parties

through numerous communications over the weeks following the mediation session.                        On

February 4, 2019, Judge Weinstein issued a Mediator’s proposal, which the Parties accepted on

February 4, 2019. The negotiations, though collegial, were adversarial.              Though Plaintiffs

believe that the claims asserted in this litigation have merit and that the evidence developed to

date supports their claims, the negotiations were informed in part by the expense and length of

continued proceedings necessary to prosecute the litigation against Defendants through trial and

through appeals, the uncertain outcome and the risk of any litigation, especially in complex

actions such as this litigation, as well as the difficulties and delays inherent in such litigation.

        In negotiating the Settlement, Plaintiffs had the benefit of attorneys who are highly

experienced in complex litigation and familiar with the legal and factual issues of the case.

        In Class Counsel’s view, the Settlement provides substantial benefits to the Class.

                        b)      The Settlement Is Within The Reasonable Range Of Recovery

        At the Settlement Fairness Hearing, in finally determining whether a settlement is fair,

reasonable, and adequate, the Court will have to decide whether to approve the Settlement under

the factors articulated in Grinnell: (1) the complexity, expense, and likely duration of the

litigation; (2) the reaction of the class to the Settlement; (3) the stage of the proceedings and the

amount of discovery completed; (4) the risks of establishing liability; (5) the risks of establishing

damages; (6) the risks of maintaining the class action through the trial; (7) the ability of the

defendants to withstand a greater judgment; (8) the range of reasonableness of the Settlement

fund in light of the best possible recovery; and (9) the range of reasonableness of the Settlement


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fund to a possible recovery in light of all the attendant risks of litigation. Grinnell, 495 F.2d at

463. All nine factors need not be satisfied; rather, the Court should consider the totality of these

factors in light of the particular circumstances. Thompson v. Metro. Life Ins. Co., 216 F.R.D. 55,

61 (S.D.N.Y. 2003).

       For preliminary approval purposes, however, the Court need not decide these factors.

Rather, if the Court finds that the Settlement is “within the range of possible approval” that

might be approved under Grinnell, it should then order that the Class receive notification of the

Settlement, schedule the Settlement Fairness Hearing, and provide Class members an

opportunity to be heard. See Manual at § 40.42 (model preliminary approval order). Here, the

Settlement satisfies the Grinnell test. Therefore, the Court should grant preliminary approval.

                           1) The Complexity, Expense and Likely Duration of the
                               Litigation

       The Settlement provides the Class with substantial relief, without the delay and expense

of trial and post-trial proceedings. Due to the inherent complexity of securities litigation, and

particularly the stringent requirements imposed by the Private Securities Litigation Reform Act

of 1995’s (“PSLRA”) amendments to the Exchange Act, as well as supervening case law

developments, including the Supreme Court’s recent decision in Halliburton Co. v. Erica P.

John Fund, Inc., 134 S. Ct. 2398 (2014), prosecution of securities class action litigation is

inherently complex and lengthy.       During the upcoming trial, the jury would have had to

determine: (i) whether Defendants’ statements were materially false and misleading; (ii) whether

Defendants acted with scienter; (iii) whether the alleged fraud was the proximate cause of

investors’ losses; and (iv) the amount of artificial inflation in FCA’s Securities.

       If the parties did not agree to settle, they would have faced an expensive trial with an

uncertain outcome. The jury would have had to determine numerous complex securities law



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issues, and navigate battles of the experts regarding vehicle safety and emissions regulations,

loss causation, and damages. Not only would any recovery be very uncertain, considering the

near-certainty of appeals, it would inevitably be delayed by years.

                          2) Stage of Proceedings and Amount of Discovery Completed

       The proceedings had sufficiently advanced to provide Plaintiffs with a thorough

understanding of the strengths and weaknesses of their claims.            The parties completed

comprehensive fact and expert discovery in 2018. Plaintiffs reviewed over 3,500,000 pages of

documents that Defendants and third-parties produced in discovery and engaged in numerous

hard-fought discovery disputes. The Parties conducted 36 depositions. Plaintiffs submitted

reports and rebuttal reports from five expert witnesses, and defended their depositions. Plaintiffs

also deposed Defendants’ six expert witnesses. Plaintiffs also moved to exclude testimony from

four of Defendants’ experts, and opposed Defendants’ two motions to exclude and Defendants’

motion for summary judgment. In re Am. Bank Note Holographics, Inc., 127 F. Supp. 2d 418,

426 (S.D.N.Y. 2001) (“To approve a proposed settlement . . . , it is enough for the parties to have

engaged in sufficient investigation of the facts to enable the Court to intelligently make . . . an

appraisal of the Settlement.”) (quotation marks and citations omitted).

                          3) The Risks of Establishing Liability & Damages

       Despite Class Counsel’s confidence, there are significant risks to proving falsity,

materiality, loss causation and damages. Moreover, proving scienter, a notoriously difficult and

risky element of securities fraud cases, was not certain. In re Am. Bank Note Holographics, Inc.,

127 F. Supp. 2d 418, 426 (S.D.N.Y. 2001); In re Sturm, Ruger, & Co., Inc. Sec. Litig.,

3:09CV1293 VLB, 2012 WL 3589610, at *6 (D. Conn. Aug. 20, 2012).




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                           4) The Risks of Maintaining the Class Action Through Trial

       While Plaintiffs successfully obtained class certification on June 26, 2018, there was no

guarantee that status would remain throughout the trial, as the Court may exercise its discretion

to re-evaluate the appropriateness of class certification at any time. Fed. R. Civ. P. 23(c)(1)(C)

(“An order that grants or denies class certification may be altered or amended before final

judgment.”); see also In re Global Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 460 (S.D.N.Y.

2004) (“[E]ven if plaintiffs could obtain class certification, there could be a risk of

decertification at a later stage.”). Here, “the uncertainty surrounding class certification supports

approval of the Settlement.” Marsh & McLennan, 2009 U.S. Dist. LEXIS 120953, at *23

(S.D.N.Y. Dec. 23, 2009). The Settlement avoids the uncertainty with respect to the maintaining

certification and, thus, supports approval of the Settlement.

                           5) Reasonableness of the Settlement

       The Settlement provides for a recovery of $110 million. Plaintiffs’ damages expert

calculated the declines in FCA’s stock price attributable to the corrective events that Plaintiffs

allege revealed the fraud to the market. Plaintiffs engaged a consultant to estimate the potentially

recoverable aggregate damages. Estimating aggregate damages can be challenging due to, among

other things, assumptions that must be made regarding trading activity. A popular model used to

estimate damages is referred to as the “Two-Trader Model” (also called the “80/20 Model”).

The Two-Trader model is the model often used by Cornerstone Research, a damages firm

routinely hired by Defendants in securities actions. Assuming Plaintiffs were able to prove at

trial all aspects of liability, and recover the full amount of the alleged inflation, the aggregate

recoverable damages are approximately $800 million. The Settlement thus represents

approximately 13.75% of the potential recovery. Moreover, that computation assumes that 100%

of eligible class members file claims. It is more likely that less than 100% will do so (despite


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efforts that will be made to notify as many eligible claimants, including posting of notice through

the Internet).

        The percentage of recovery here far outstrips historical averages, yielding an excellent

result for Class members. See, e.g., In re Rite Aid Corp. Sec. Litig., 146 F. Supp. 2d 706 at 715

(E.D.P.A. 2001) (citing studies indicating that the average securities fraud class action settlement

since 1995 has resulted in a recovery of 5.5% – 6.2% of estimated losses); In re Mego Fin. Corp.

Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000); In re Crazy Eddie Sec. Litig, 824 F. Supp. 320,

328 (E.D.N.Y. June 11, 1993) (approving settlement that was 10% of estimated maximum

recovery); Holden v. Burlington N., Inc., 665 F. Supp. 1398, 1414 (D. Minn. 1987) 495 F.2d 448

(2d Cir. 1974) (“In fact there is no reason, at least in theory, why a satisfactory settlement could

not amount to a hundredth or even a thousandth part of a single percent of the potential

recovery.”). Indeed, according to NERA Economic Consulting the median settlement as a

percentage of investor losses between $600 million and $999 million in 2018 was 1.6%. See

NERA Economic Consulting, Recent Trends in Securities Class Action Litigation: 2018 Full

Year                            Review,                             at                           35

https://www.nera.com/content/dam/nera/publications/2019/PUB_Year_End_Trends_012819_Fin

al.pdf. According to Cornerstone Research, the median settlement as a percentage of “simplified

tiered damages” between $500 million and $999 million in 2018 was 3.3% (the median between

2009 and 2017 was 3.7%). See Cornerstone Research, Securities Class Action Settlements: 2018

Review and Analysis at 8.3 Thus, the percentage of recovery here is approximately four to 8.6

times that of the median settlement for cases of this size.


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  It should be noted that these studies tend to focus on the size of the settlement relative to
transactions losses, not recoverable damages, and probably understates the recovery rate. See
Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336 (2005).


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IV.        THE COURT SHOULD APPROVE THE PROPOSED FORM
           AND METHOD OF CLASS NOTICE

      A.      Notice By Direct Mail And Publication Is Appropriate

           “Rule 23(e)(1)(B) requires the court to ‘direct notice in a reasonable manner to all class

members who would be bound by a proposed settlement, voluntary dismissal, or compromise,’

regardless of whether the class was certified under Rule 23(b)(1), (b)(2), or (b)(3).” See Manual

at §§ 21.632, 21.633. To satisfy due process, notice to class members must be “reasonably

calculated, under all the circumstances, to apprise interested parties of the pendency of the action

and afford them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank &

Trust Co., 339 U.S. 306, 314 (1950). “‘The notice must be of such nature as reasonably to

convey the required information . . . and it must afford a reasonable time for those interested to

make their appearance.’” Soberal-Perez v. Heckler, 717 F.2d 36, 43 (2d Cir. 1983) (quoting

Mullane, 339 U.S. at 314). In securities class actions, it is customary to provide notice by (a)

publishing a summary notice in a major publication, (b) publishing this same summary notice in

a press release, (c) mailing long-form notice to all individual shareholders who can be found, and

(d) publishing notice on a website. See, e.g., In re Marsh Erisa Litig., 265 F.R.D. 128, 145

(S.D.N.Y. 2010).

           The proposed Notice, which the claims administrator would send to Class Members by

first class mail, is attached as Exhibit A-1 to the Stipulation. The Notice describes in plain

English the terms of the Settlement, the considerations that led Class Counsel to conclude that

the Settlement is fair and adequate, the maximum attorneys’ fees and expenses that may be

sought, the procedure to object to the Settlement, and the date and place of the Settlement

Fairness Hearing.




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       With the Court’s permission, the Claims Administrator will commence mailing the

Notice to Class Members identified by FCA’s transfer agent and will also post the Notice on the

internet within 20 calendar days of approval, and mailed to shareholders identified in requests to

nominees as soon thereafter as addresses are received. The Summary Notice, set forth in Exhibit

A-3 to the Stipulation, will be published once in the national edition of Investor’s Business Daily

and once over the GlobeNewswire within 10 calendar days thereafter. The Claims Administrator

will also make additional copies of the Notice available to nominee holders such as brokerage

firms that held FCA common stock during the Class Period. Such nominee holders will be

requested to forward copies of the Notice to all beneficial owners of such shares or, alternatively,

to provide the Claims Administrator with a list of the names and addresses of such beneficial

owners so that the Claims Administrator can mail the Notice to such beneficial owners directly.

       Sending the Notice by first-class mail, combined with the publication of the Summary

Notice in a major publication and on the Claims Administrator’s website, is the best notice

practicable under the circumstances, and is typical of the notice given in other class actions, and

satisfies the requirements of Rule 23 and due process. See, e.g., In re Marsh Erisa Litig., 265

F.R.D. 128, 145 (S.D.N.Y. 2010); see also Mangone v. First USA Bank, 206 F.R.D. 222, 231-

232 (S.D. Ill. 2001) (approving mailed notice to last known addresses of a settlement class with

nearly 18.5 million members). Accordingly, the Court should find that the Notice, Summary

Notice, and the procedures for dissemination are “reasonably calculated, under all the

circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S.

306, 314 (1950).




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       B.      The Proposed Notice Adequately Informs Class Members of Their Rights In
               This Litigation

       In an action proceeding under Rule 23(b)(3), the notice must inform each class member

that “the court will exclude anyone from the class if he so requests [by a specified date]; the

judgment will include all members who do not request exclusion and any member not requesting

exclusion may, if he desires, enter an appearance through counsel.” Fed. R. Civ. P. 23(c)(2).

       Here, the proposed Notice, Exhibit A-1 to the Stipulation, clearly and accurately

discloses the information material to a Class Member’s decision whether to accept, object to, or

opt out of the Settlement. The Notice provides detailed information concerning (a) the proposed

Settlement (including the Settlement Amount and releases to Defendants) ; (b) the nature,

history, and progress of the Action; (c) the date of the Settlement Fairness Hearing; (d) the

proposed Plan of Allocation; (e) the maximum fees and expenses to be sought by Counsel

Counsel and compensatory award to be sought by Plaintiffs; (f) the rights of Class Members,

including the procedures for opting-out of the Settlement, filing a Proof of Claim, or objecting to

the Settlement, Plan of Allocation, Class Counsel’s request for fees and expenses, or Plaintiffs’

request for a compensatory award; and (g) how to contact Class Counsel, access the Court’s

docket, or otherwise learn more about the Action and Settlement.

       The Notice also meets the requirements of the PSLRA, 15 U.S.C. § 78u-4(a)(7). The

Notice provides:

              a cover page summarizing the information contained in the Notice;

              a statement of the Class Members’ recovery before deduction of Court-approved

               fees and expenses and costs of notice and claims administration, while making

               clear that the Plan of Allocation will cause the actual amount recovered by any

               specific Class Member to vary greatly across the Class;



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               the general terms of the Settlement;

               a statement of the potential outcome of the case including a statement concerning

                the issues on which the parties disagree;

               a statement of attorney’s fees or costs sought, including a summary of this

                information on the cover page;

               information on how to contact the Claims Administrator and/or Class Counsel

                (including names, addresses, telephone numbers, and websites); and

               a discussion of the reasons for the Proposed Settlement, including the factors

                Plaintiffs and the Defendants considered in reaching the Settlement.

Thus, the proposed Notice to be sent to the Class provides all of the information required by the

PSLRA. The Court should approve the proposed form of Notice and direct that notice be given

to the Class.

                             PROPOSED SCHEDULE OF EVENTS

       Plaintiffs propose the following schedule of events in connection with the Settlement

Fairness Hearing as set forth in the Preliminary Approval Order filed herewith:

Event                                              Deadline for Compliance
Date for Settlement Fairness Hearing.              At least 120 calendar days after the Court
                                                   preliminarily approves the Settlement.
                                                   (Preliminary Approval Order ¶ 2)
Mailing of Notice and Proof of Claim and           No later than 20 calendar days after the entry
Release.                                           of Preliminary Approval Order. (Preliminary
                                                   Approval Order ¶ 5(b)) (the “Notice Date”)
Publication of Summary Notice.                     No later than 10 calendar days after the Notice
                                                   Date (Preliminary Approval Order ¶ 5(d))
Filing deadline for requests for exclusion.        Postmarked no later than 21 calendar days
                                                   prior to the Settlement Fairness Hearing.
                                                   (Preliminary Approval Order ¶ 10)
Date for Plaintiffs to file and serve papers in    No later than 35 calendar days prior to the
support of the Settlement, the Plan of             Settlement Fairness Hearing. (Preliminary
Allocation and for application for attorneys’      Approval Order ¶ 23)
fees and reimbursement of expenses.


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Filing deadline for objections.                   No later than 21 calendar days prior to the
                                                  Settlement Fairness Hearing. (Preliminary
                                                  Approval Order ¶ 13)
Date for Plaintiffs to file reply papers in       Seven (7) calendar days prior to the Settlement
support of the Settlement, the Plan of            Fairness Hearing. (Preliminary Approval Order
Allocation and for application for attorneys’     ¶ 23)
fees and reimbursement of expenses.
Date for Claims to be Filed                       No later than 120 calendar days after the
                                                  Notice Date (Preliminary Approval Order ¶ 7)

                                         CONCLUSION

       In light of the foregoing, Plaintiffs respectfully request that the Court enter an Order

preliminarily approving the Settlement and setting a date for a Settlement Fairness Hearing and

deadlines for the mailing and publication of the Notices, the filing of Class Member objections,

the filing of Class Member opt-out notices, and the filing of Class Counsel’s application for

attorneys’ fees and expenses and for a compensatory award to Plaintiffs.




Dated: April 5, 2019

                                                 Respectfully submitted,

                                                 POMERANTZ LLP

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